                Case:20-01947-jwb       Doc #:284 Filed: 08/26/2020      Page 1 of 22




                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MICHIGAN

    In re:
                                                               Chapter 11
    BARFLY VENTURES, LLC, et al,1                              Case No. 20-01947-jwb
                                                               Hon. James W. Boyd
                            Debtors.
                                                               Jointly Administered
    ______________________________________/

 DEBTORS’ THIRD OMNIBUS MOTION FOR ENTRY OF AN ORDER REJECTING
CERTAIN UNEXPIRED LEASES AND TO ABANDON ANY REMAINING PERSONAL
    PROPERTY LOCATED AT THE LEASED PREMISES AND TO APPROVE
             LANDLORD AGREEMENTS RELATED TO SAME

       IF YOU HAVE RECEIVED THIS MOTION AND ARE A COUNTERPARTY TO AN
     AGREEMENT WITH BARFLY VENTURES, LLC OR ANY OF ITS DEBTOR AFFILIATES
      LISTED BELOW, PLEASE REVIEW THIS MOTION IN ITS ENTIRETY, INCLUDING
    EXHIBIT A ATTACHED TO THIS MOTION, TO DETERMINE IF THIS MOTION AFFECTS
                 YOUR AGREEMENT AND YOUR RIGHTS THEREUNDER

             The above-captioned debtors and debtors in possession (the “Debtors”), by and through

their undersigned counsel, file Debtors’ Third Omnibus Motion for Entry of an Order Rejecting

Certain Unexpired Leases and to Abandon any Remaining Personal Property Located at the

Leased Premises and to Approve Landlord Agreements Related to Same (the “Motion”) for entry

of an order authorizing the rejection of certain unexpired leases of non-residential real property



1
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and
Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant
Saloon)(4255).
              Case:20-01947-jwb       Doc #:284 Filed: 08/26/2020          Page 2 of 22




(the “Rejected Leases”), each as set forth on Exhibit A, effective as of the date listed on each

exhibit (the “Rejection Effective Date”). In support of this Motion, the Debtors respectfully state

as follows:

                                     Jurisdiction and Venue

       1.       This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is

a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

       2.       The statutory and rule predicates for the relief sought herein are sections 365(a) and

554(a) of title of the United States Code (the “Bankruptcy Code”) and Rules 6006 and 6007 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                            Background

       3.       On June 3, 2020 (the “Petition Date”), the Debtors commenced these cases by filing

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors have

continued in the possession of their property and have continued to operate and manage their

business as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

No trustee or examiner has been appointed in the Debtors’ chapter 11 cases.

       4.       On June 23, 2020, the Office of the United States Trustee, pursuant to section

1102(a)(1) of the Bankruptcy Code, appointed the Official Committee of Unsecured Creditors (the

“Committee”).

                                         Relief Requested

       5.       Debtors seek the entry of an order, pursuant to sections 365, 554, and 363 of the

Bankruptcy Code and Bankruptcy Rule 6006, (a) authorizing and approving the Debtors’ rejection
              Case:20-01947-jwb        Doc #:284 Filed: 08/26/2020           Page 3 of 22




of the Rejected Leases, effective as of the Rejection Effective Date indicated on Exhibit A2, (b)

authorizing the Debtors to abandon any personal property located at the leased premises on the

Rejection Effective Date, and (c) to approve the landlord agreements related to Rejected Leases.

         6.     Debtors have already ceased or will cease operating by the Rejection Effective Date

at the following restaurants (the “Leased Premises”):


          Debtor                  Landlord              Restaurant Address              Rejection
                                                                                      Effective Date

    HopCat-Kansas City,    Hood Westport, LLC         401 Westport Road,           August 31, 2020
    LLC                    Tholen Westport,           Kansas City, Missouri
                           LLC                        64111
                           Irving Westport, LLC
                           Manager: CAD
                           Management, LLC
                           Victorian Square,
    HopCat-Lexington,      LLC                        410 West Short Street,       August 31, 2020
    LLC                                               Lexington, Kentucky
                                                      40507

    HopCat-Madison,        222 Venture, LLP           222 West Gorham              August 31, 2020
    LLC                                               Street, Madison,
                                                      Wisconsin 53703

    HopCat-Minneapolis,    Nicollet Residences,       415 Nicollet Mall,           August 31, 2020
    LLC                    LLC                        Minneapolis, Minnesota
                                                      55401


         7.     As set forth in detail below, the relief requested is in the best interest of the Debtors’

estates and creditors because the Debtors have ceased or will cease operations at the Leased

Premises, have no further use for the Leased Premises, have vacated or will vacate each of the

Leased Premises by the Rejection Effective Date, and the Debtors, in the exercise of their business

judgment, do not believe that that the Rejected Leases have any net value to the Debtors’ estates.



2
  The Debtors reserve all rights with respect to the characterization of the Rejected Leases and
any rejection or other damages that may be asserted.
             Case:20-01947-jwb       Doc #:284 Filed: 08/26/2020          Page 4 of 22




       8.      Absent the relief requested, Debtors may continue to be obligated to pay rent or

other charges in respect of the Rejected Leases, even though Debtors no longer operate the Leased

Premises and may have no other productive uses Leased Premises. The prompt rejection of the

Rejected Leases will reduce Debtors’ expenses and maximize the value of Debtors estate.

       9.      To the extent notice of the Debtors’ intention to reject the Rejected Leases has not

been previously provided or to the extent not previously rejected by the Debtors, the filing and

service of this Motion serves as notice to the Counterparties of the Debtors’ intention to reject the

Rejected Leases listed on Exhibit A.

                                Rejection of Unexpired Leases

       10.     Section 365(a) of the Bankruptcy Code provides that a trustee or debtor in

possession, “subject to the court’s approval, may … reject any executory contract or unexpired

lease of the debtor.” 11 U.S.C. § 365(a); see also Univ. Med. Ctr. v. Sullivan (In re Univ. Med.

Ctr.), 973 F.2d 1065, 1075 (3d Cir. 1992). “This provision allows a trustee to relieve the

bankruptcy estate of burdensome agreements which have not been completely performed.”

Stewart Title Guar. Co. v. Old Republic Nat’l Title Co., 83 F.3d 735, 741 (5th Cir. 1996) (citing

In re Muerexco Petroleum, Inc., 15 F.3d 60, 62 (5th Cir. 1994)); see also Leasing Service Corp. v.

First Tenn. Bank Nat’l Assoc., 826 F.2d 434, 436 (6th Cir. 1987).

       11.     The decision to assume or reject an executory contract or unexpired lease is a matter

within the “business judgment” of the trustee. See NLRB v. Bildisco (In re Bildisco), 682 F.2d 72,

79 (3d Cir. 1982) (“The usual test for rejection of an executory contract is simply whether rejection

would benefit the estate, the ‘business judgment’ test.”); see also JRT, Inc. v. TCBY Systems, Inc.

(In re JRT, Inc.), 121 B.R. 314, 321 (Bankr. W.D. Mich. 1990) (“In determining whether a contract

is burdensome, courts have utilized a business judgment test.”). The business judgment standard
             Case:20-01947-jwb        Doc #:284 Filed: 08/26/2020           Page 5 of 22




mandates that a court approve a trustee’s business decision unless the decision is the product of

bad faith, whim or caprice. See In re Trans World Airlines, Inc., 261 B.R. 103, 121 (Bankr. D.

Del. 2001); see also Summit Land Co. v. Allen (In re Summit Land Co.), 13 B.R. 310, 315 (Bankr.

D. Utah 1981) (absent extraordinary circumstances, court approval of a debtor’s decision to

assume or reject an executory contract “should be granted as a matter of course”).

       12.     Rejection of an executory contract or unexpired lease is appropriate where rejection

of the contract would benefit the estate. See Sharon Steel Corp. v. Nat’l Fuel Gas Distribution

Corp. (In re Sharon Steel Corp.), 872 F.2d 36, 40 (3d Cir. 1989). The standard for rejection is

satisfied when a trustee or debtor has made a business determination that rejection will benefit the

estate. See Commercial Fin. Ltd. v. Hawaii Dimensions, Inc. (In re Hawaii Dimensions, Inc.), 47

B.R. 425, 427 (D. Haw. 1985) (“under the business judgment test, a court should approve a

debtor’s proposed rejection if such rejection will benefit the estate.”).

       13.     If the trustee’s or debtor’s business judgment has been reasonably exercised, a court

should approve the assumption or rejection of an unexpired lease or executory contract. See, e.g.,

NLRB v. Bildisco & Bildisco, 462 U.S. at 523 (1984); In re Federal Mogul Global, Inc., 293 B.R.

124, 126 (D. Del. 2003).

       14.     In applying the business judgment standard, courts show great deference to the

trustee’s or debtor’s decisions to reject. See e.g., NRLB V. Bildisco & Bildisco, 462 U.S. at 523

(1984); In re Federal Mogul Global, Inc., 293 B.R. 124, 126 (D. Del. 2003) (court should approve

a debtor’s decision to reject a contract unless that decision is the product of bad faith or a gross

abuse of discretion); Summit Land Co. v. Allen (In re Summit Land Co.), 13 B.R. 310, 315 (Bankr.

D. Utah 1981) (absent extraordinary circumstances, court approval of a debtor’s decision to

assume or reject an executory contract “should be granted as a matter of course”).
              Case:20-01947-jwb       Doc #:284 Filed: 08/26/2020           Page 6 of 22




        15.     Pursuant to section 365(a) of the Bankruptcy Code, the Debtors seek to reject the

Rejected Leases effective as of the Rejection Effective Date in order to avoid the possibility of

incurring any additional expenses and costs. See NLRB v. Bildisco & Bildisco, 465 U.S. 513, 530

(1984) (stating that rejection relates back to the petition date). Furthermore, a court may permit

retrospective rejection to avoid unduly exposing a debtor’s estate to unwarranted postpetition

administrative or other expenses. See In re Amber’s Stores, Inc., 193 B.R. 819, 827 (N.D. Tex.

1996); see also In re Thinking Mach. Corp., 67 F.3d 1021, 1028 (1st Cir. 1995) (“bankruptcy

courts may enter retroactive orders of approval, and should do so when the balance of equities

preponderates in favor of such remediation.”); In re Jamesway Corp., 179 B.R. 33, 37-38

(S.D.N.Y. 1995) (affirming bankruptcy court’s retroactive approval of lease rejection); see also In

re CCI Wireless, LLC, 297 B.R. 133, 140 (D. Col. 2003) (holding that a bankruptcy court “has

authority under section 365(d)(3) to set the effective date of rejection at least as early as the filing

date of the motion to reject”).

        16.     The Debtors seek to reject the Rejected Leases, in accordance with principles of

sound business judgment, based on the belief that the Rejected Leases are, and will continue to be,

a burden to the Debtors’ estates. The Debtors have terminated their operations at the particular

locations subject to the Rejected Leases, have no further use for and have vacated the Leased

Premises, and the Rejected Leases no longer provide any economic benefit to the Debtors in

connection with their operations at such locations. Additionally, the Debtors have determined, in

their reasonable business judgment, that there is no net value that can be realized from an attempt

to market and assign the Rejected Leases.3 As a result, the Debtors have determined that the cost


3
  The Debtors reserve all of their rights with respect to the determination of whether any Rejected
Lease has been or will have been terminated or breached. Moreover, nothing herein may be
deemed an admission that the Rejected Leases are enforceable obligations of the Debtors, are
executory in nature, or that any of the landlords identified on Exhibit A have a valid claim against
              Case:20-01947-jwb        Doc #:284 Filed: 08/26/2020            Page 7 of 22




to the Debtors of continuing to occupy the Leased Premises under the Rejected Leases, and of

performing their obligations under the Rejected Leases and incurring unnecessary administrative

expenses, will exceed any realistic sales price, and that rejection of the Rejected Leases is thus in

the best interests of the Debtors’ estates and creditors. Finally, the Debtors do not believe that the

value of any Rejected Lease will increase in the immediate future. For all of the above reasons,

the Debtors submit that rejection of the Rejected Leases is in the best interests of the Debtors’

estates and creditors, and other parties in interest.


                         Abandonment of Remaining Personal Property

        17.     As discussed above, the Debtors have ceased operations at the locations subject to

the Rejected Leases. The Debtors believe that they have already removed or will remove by the

Rejection Effective Date all of their owned personal property assets (the “Remaining Personal

Property”) currently located at the Leased Premises that has a value that would benefit the estates.

        18.     Section 554(a) of the Bankruptcy Code provides that “[a]fter notice and a hearing,

the trustee may abandon any property of the estate that is burdensome to the estate or that is of

inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). Debtors have determined

that the Remaining Personal Property is either: (i) burdensome to the estate to the extent that costs

associated with removal and storage of this property is likely to exceed any net proceeds from the

property; or (ii) of inconsequential value and benefit to the estate. Accordingly, abandonment of

the Remaining Personal Property reflects Debtors’ exercise of sound business judgment and is in

the best interests of Debtors, their estates, their creditors, and other parties in interest.




Debtors as a result of the lease rejection. In any event, the Debtors do not believe that assumption
of the Rejected Leases is in the best interests of their estates or their creditors and thus seek to
reject the Rejected Leases pursuant to this Motion.
              Case:20-01947-jwb         Doc #:284 Filed: 08/26/2020       Page 8 of 22




                                         Landlord Agreements

        19.     Debtors negotiated agreements with the following landlords regarding the payment

of post-petition rent:


              Debtor                                           Landlord

 HopCat-Kansas City, LLC          Hood Westport, LLC; Tholen Westport, LLC; Irving Westport,
                                  LLC; Manager: CAD Management, LLC
                                  Victorian Square, LLC
 HopCat-Lexington, LLC

 HopCat-Minneapolis, LLC          Nicollet Residences, LLC

        20.     These landlord agreements provide in part, that, notwithstanding the provisions of

11 U.S.C. § 365(d) or other relevant Bankruptcy Code provisions, the relevant Debtor was able to

pay reduced or no post-petition rent until and unless the respective lease was assumed. Further, if

the relevant lease was rejected, the respective landlord’s post-petition rent claims will be treated

as general unsecured claims. Copies of the landlord agreements are attached as Exhibit B.

        21.     Entry into the landlord agreements should be authorized under section 363(b) of

the Bankruptcy Code. Section 363(b)(1) provides, in relevant part, that “the trustee, after notice

and hearing, may use, sell, or lease, other than in the ordinary course, property of the estate.”

Courts apply the business judgment standard when evaluating transactions under section 363(b).

In re Global Home Prods, LLC, 369 B.R. 778, 783 (Bankr. D. Del. 2007).

        22.     Entering into the landlord agreements benefits Debtors’ estates because it reduces

the amount of administrative expenses that Debtors would otherwise be required to pay in the

event the relevant leases are rejected. Thus, the Debtors’ decision to enter into the landlord

agreements is a sound exercise of their business judgment and is in the best interest of the Debtors’,

their estates, their creditors, and all parties in interest.


                               Reasonable Notice Has Been Provided
              Case:20-01947-jwb        Doc #:284 Filed: 08/26/2020          Page 9 of 22




        23.     Bankruptcy Rule 9014 provides, in part, that “reasonable notice and opportunity

for hearing shall be afforded the party against whom the relief is sought.” See Fed. R. Bankr. P.

9014(a).4 The notice and hearing requirements for contested matters under Bankruptcy Rule 9014

are satisfied if appropriate notice and an opportunity for hearing are given in light of the particular

circumstances. See 11 U.S.C. § 102(1)(A) (defining “after notice and a hearing” or a similar phrase

to mean such notice and an opportunity for a hearing “as [are] appropriate in the particular

circumstances”).

        24.     The landlords of the Rejected Leases (the “Landlords”) have received notice of

Debtors’ intent to reject the Rejected Leases by notice of this Motion. Additionally, upon receipt

of this Motion, the Landlords will receive notice of the effective date of the rejection and will have

had an opportunity to object. See, e.g., In re Mid Region Petroleum, Inc., 111 B.R. 968, 970

(Bankr. N.D. Okla. 1990) (holding effective date of rejection of leases was the date the trustee

gave notice to lessor of intent to reject).

        25.     Since Debtors have already vacated, or will vacate by the Rejection Effective Date,

the Leased Premises and will turn over possession on or before the Rejection Effective Date,

Debtor submits that making the rejection for those premises effective as of August 31, 2020 is

appropriate. See, e.g., Adelphia Bus. Solutions, Inc. v. Abnos, 482 F.3d 602, 608-09 (2d Cir. 2007)

(holding bankruptcy court did not abuse its discretion in finding balance of equities favored

making rejection of a nonresidential lease of real property retroactive to date tenant vacated

premises, as tenant’s action provided landlord with opportunity to relet premises); In re Amber’s

Stores, 193 B.R. 819, 827 (Bankr. N.D. Tex. 1996) (holding that lease at issue should be deemed


4
  Rule 9014 is made applicable to a motion to reject by Bankruptcy Rule 6006(a), which provides
that “[a] proceeding to . . . reject . . . an executory contract or unexpired lease, other than as part
of a plan, is governed by Rule 9014.” Fed. R. Bankr. P. 6006(a).
             Case:20-01947-jwb      Doc #:284 Filed: 08/26/2020          Page 10 of 22




rejected as of the petition date due to equities of the case where debtor vacated premises and served

motion to reject lease as soon as possible).

       26.      Bankruptcy Rule 6006(f), in relevant part, requires that a motion to reject multiple

executory contracts or unexpired leases:

                 (1) state in a conspicuous place that parties receiving the
                 omnibus motion should locate their names and their contracts or
                 leases listed in the motion;

                 (2) list parties alphabetically        and   identify   the
                 corresponding contract or lease;

                 ...

                 (5) be numbered consecutively with other omnibus motions to
                 assume, assign, or reject executory contracts or unexpired
                 leases; and

                 (6) be limited to no more than 100 executory contracts
                 or unexpired leases.

The purpose of Bankruptcy Rule 6006(f), as amended, is to protect the due process rights of the

parties to the Rejected Leases. Counterparties must be able to locate their lease and readily

determine whether their lease is being rejected. Debtors have complied with the foregoing

requirements of Bankruptcy Rule 6006(f).

       27.      The Debtors may have claims against the Landlords arising under, or independently

of, the Rejected Leases. The Debtors do not waive such claims by the filing of this Motion or by

the rejection of the Rejected Leases.

                                               Notice

       28.      Notice of this Motion will be served on: (a) the Office of the United States Trustee

for the Western District of Michigan; (b) counsel to the Committee; (c) Congruent Credit

Opportunities Fund III, LP, Main Street Capital Corporation, and HMC Income Fund, Inc. c/o,

CIIP Administrative, LLC (Debtors’ secured lender); (d) the Landlords; and (e) creditors having
             Case:20-01947-jwb      Doc #:284 Filed: 08/26/2020         Page 11 of 22




requested notice or otherwise appeared in this case. Debtors submit that no other or further notice

need be given in light of the circumstances of these cases.

         WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

in the attached form, (i) granting the Motion, (ii) approving the rejection of the Rejected Leases

effective as of the Rejection Effective Date, (iii) authorizing the Debtors to abandon any

Remaining Personal Property at the Leased Premises on the Rejection Effective Date; (iv) approve

Debtors’ entry into the landlord agreements attached as Exhibit B to this Motion; and (v) granting

such other and further relief as the Court may deem proper.

Dated: August 26, 2020                       Respectfully submitted,

                                             WARNER NORCROSS + JUDD LLP

                                             /s/ Elisabeth M. Von Eitzen
                                             Rozanne M. Giunta (P29969)
                                             Elisabeth M. Von Eitzen (P70183)
                                             Stephen B. Grow (P39622)
                                             1500 Warner Building
                                             150 Ottawa Avenue, NW
                                             Grand Rapids, Michigan 49503
                                             Telephone: (616) 752-2000

                                             PACHULSKI STANG ZIEHL & JONES LLP
                                             John W. Lucas
                                             Jason Rosell
                                             Steven W. Golden
                                             150 California Street, 15th Floor
                                             San Francisco, California 94111
                                             Telephone: (415) 263-7000

                                             Counsel to the Debtors
20573374-1
Case:20-01947-jwb   Doc #:284 Filed: 08/26/2020   Page 12 of 22




                         EXHIBIT A

                       (Rejected Leases)
                           Case:20-01947-jwb      Doc #:284 Filed: 08/26/2020        Page 13 of 22




          UNEXPIRED NON-RESIDENTIAL REAL PROPERTY LEASES TO BE REJECTED

                                                                                                                 Rejection
      Non-Debtor                                                 Debtor Lessee             Leased Premises
                                Notice Address(es)                                                               Effective
     Counterparty                                                 (Guarantor)                 Address
                                                                                                                   Date
                           c/o Urban Land Interests, LLC                                222 West Gorham
                                                            HopCat-Madison, LLC                                  August 31,
222 Venture, LLP           10 East Doty Street, Suite 300                               Street, Madison,
                                                                                                                   2020
                           Madison, Wisconsin 53703                                     Wisconsin 53703

Hood Westport, LLC;        c/o CAD Management, LLC
                                                                                        401 Westport Road,
Tholen Westport, LLC;      Attn: Wesley J. Carrillo         HopCat-Kansas City, LLC                              August 31,
                                                                                        Kansas City, Missouri
Irving Westport, LLC       1100 Main Street, Suite 2121     (Barfly Ventures, LLC)                                 2020
                                                                                        64111
                           Kansas City, Missouri 64105

                           c/o AEW Management LP                                        415 Nicollet Mall,
                                                            HopCat-Minneapolis, LLC                              August 31,
Nicollet Residences, LLC   465 Nicollet Mall                                            Minneapolis, Minnesota
                                                            (BarFly Ventures, LLC)                                 2020
                           Minneapolis, Minnesota 55401                                 55401
                           401 West Main Street, Suite                                  410 West Short Street,
                                                            HopCat-Lexington, LLC                                August 31,
Victorian Square, LLC      313                                                          Lexington, Kentucky
                                                            (Mark A. Sellers, III)                                 2020
                           Lexington, Kentucky 40507                                    40507
Case:20-01947-jwb   Doc #:284 Filed: 08/26/2020   Page 14 of 22




                         EXHIBIT B

                    (Landlord Agreements)
Case:20-01947-jwb   Doc #:284 Filed: 08/26/2020   Page 15 of 22
             Case:20-01947-jwb        Doc #:284 Filed: 08/26/2020        Page 16 of 22



G.               Debtor acknowledges Landlord is entitled to monthly Rent in the amount of
  $35,577.91, from July 1, 2020 until the Lease is rejected or assumed (the "Post-Petition Rent''),

           Remainder of page is blank
Case:20-01947-jwb   Doc #:284 Filed: 08/26/2020   Page 17 of 22
             Case:20-01947-jwb      Doc #:284 Filed: 08/26/2020          Page 18 of 22



      6.        Right of First Refusal. In the event the Lease is rejected, Landlord shall
        have and maintain a right of first refusal to purchase all furniture, fixtures, and
        equipment (including all Trade Fixtures as defined in the Lease, bars and bar
        equipment) (collectively, the "Equipment) on the same tenns and conditions granted
        to any person or entity not a party to the Lease or this Agreement. Debtor and/or
        Debtor's estate shall notify Landlord, in writing, of the terms and conditions of the
        proposed purchase within 3 days of a third-party's wTitten offer to purchase the
        Equipment along with any contract for the purchase of the Equipment. Landlord
        shall have ten (I 0) business days to reject the offer or invoke its right of first refusal
        and purchase the equipment on the same terms as stated therein.

       7.        Terms of Lease Unchanged. Except as expressly stated herein, the terms
         and obligations contained in the Lease remain unchanged and shall remain in full
         force and effect.

       8.         Bankruptcy Court Approval. Debtor will seek entry of an order that
         incorporates the provisions set forth herein and authorizes Debtor to enter into this
        Agreement. This Agreement will be null and void if the Court does not enter an order
         approving this Agreement. The Bankruptcy Court will retain jurisdiction over any
          disputes under this Agreement.

This Agreement is effective on the date set forth above.

  DEBTOR: HOPCAT-KANSAS CITY,                       LANDLORD: HOOD WESTPORT,
  LLC                                               LLC, THOLEN WESTPORT, LLC,
                                                    LEPE WESTPORT, LLC, and IRVING




                                                    •frh
                                                    \.VE S T P O R T, L L C, by C AD
  By:._____ _ _ _ _ ___ _                           MANAGEMENT, LLC
        Interim CEO


  Its: Authorized Signer
                                                                                 0  ,.,,,r Lk
                                                      �J'°,','
                                                    Its: /tA.n.K..,   •'7 11af'N,rt--e,,--:-:
                                                                          oo<P

20340790-3
            Case:20-01947-jwb      Doc #:284 Filed: 08/26/2020          Page 19 of 22




                    AGREEMENT REGARDING PAYMENT OF RENT

      HOPCAT-LEXINGTON, LLC (“Debtor”) and VICTORIAN SQUARE, LLC
(“Landlord” and collectively with Debtor, “the Parties”) enter into this Agreement Regarding
Payment of Rent effective ________, 2020 (the “Agreement”).

                                           RECITALS

       A.      Debtor leases the following premises from Landlord:

              Store Location                                   Date of Lease
           (“Leased Premises”)                                   (“Lease”)
 410 West Short Street, Lexington, KY            November 19, 2014, as amended by the First
 40507                                           Amendment to Lease Agreement dated June
                                                 26, 2015

        B.      On June 3, 2020 (the “Petition Date”), Debtor filed a voluntary petition for relief
under Chapter 11 of the Bankruptcy Code in the United States District Court for the Western
District of Michigan (the “Bankruptcy Court”), Case No. 20-01963, which is being jointly
administered with BarFly Ventures, LLC, the Debtor’s parent company, Case No. 20-01947
(collectively, the “Bankruptcy Case”).

       C.     Under the Lease, Debtor is obligated to pay Landlord rent, common area
maintenance (“CAM”), additional rent, and other charges, costs, or expenses chargeable to Debtor
under the Lease (collectively, “Rent”).

       D.      From January 1, 2020 to June 30, 2020, Debtor owes Landlord $106,129.44 in
unpaid Rent (the “Pre-Petition Unpaid Rent”). Landlord acknowledges and agrees that Landlord
has received payment in full of all Rent owing as of the Petition Date by the Debtor other than the
Pre-Petition Unpaid Rent.

        E.     The Landlord further agrees that the Pre-Petition Unpaid Rent is an unsecured pre-
petition claim and that Landlord may not demand or otherwise attempt to collect the Pre-Petition
Unpaid Rent while the automatic stay applies in the Bankruptcy Case.

        F.     Debtor will continue to occupy the Leased Premises through the date Debtor either
rejects or assumes the Lease under 11 U.S.C. § 365 (the “Post-Petition Period”).

        G.     Debtor acknowledges Landlord is entitled to monthly Rent in the amount of
$17,688.24, from July 1, 2020 until the Lease is rejected or assumed (the “Post-Petition Rent”),
for the continued possession of the Leased Premises. The Post-Petition Rent is an administrative
expense under 11 U.S.C. § 365(d) and 11 U.S.C. § 503(b) and is adequate protection for the use
and occupancy of the Leased Premises under 11 U.S.C. § 363.
             Case:20-01947-jwb     Doc #:284 Filed: 08/26/2020         Page 20 of 22




                                        AGREEMENT

      1.        Post-Petition Rent Waiver. While the Parties acknowledge Landlord is entitled
to Post-Petition Rent for the continued possession of the Leased Premises, Landlord hereby agrees
to waive Debtor’s obligation to pay Post-Petition Rent. Therefore, notwithstanding the
requirements of 11 U.S.C. § 365(d), 11 U.S.C. § 503(b), and 11 U.S.C. § 363 and any other like
provision in the Bankruptcy Code, the Parties agree that Debtor is not obligated to pay Post-
Petition Rent except as set forth in Paragraphs 2 and 3 of this Agreement.

     2.       Rejection of Lease. If the Debtor’s estate ultimately rejects the Lease pursuant to
11 U.S.C. § 365, both the Pre-Petition Unpaid Rent and the Post-Petition Rent will be treated as
general unsecured claims in the Bankruptcy Case.

      3.       Assumption of Lease. In the event the Lease is assumed pursuant to 11 U.S.C. §
365, Debtor (or its assignee) must cure the defaults by paying both the Pre-Petition Unpaid Rent
and the Post-Petition Rent then due.

      4.        Bankruptcy Court Approval. Debtor will seek entry of an order that incorporates
the provisions set forth herein and authorizes Debtor to enter into this Agreement. This Agreement
will be null and void if the Court does not enter an order approving this Agreement. The
Bankruptcy Court will retain jurisdiction over any disputes under this Agreement.

This Agreement is effective on the date set forth above.

 DEBTOR: HOPCAT-LEXINGTON, LLC                    LANDLORD: VICTORIAN SQUARE,
                                                  LLC

                                                                       Type text here
 By: ________________________________             By: ______________________________
     Mark A. Sellers, III

 Its: Authorized Signer                                Co-Manager
                                                  Its: ______________________________

20340711-1
            Case:20-01947-jwb      Doc #:284 Filed: 08/26/2020          Page 21 of 22

                                                                                Execution Version


                    AGREEMENT REGARDING PAYMENT OF RENT

      HOPCAT MINNEAPOLIS, LLC (“Debtor”) and NICOLLET RESIDENCES, LLC
(“Landlord” and collectively with Debtor, “the Parties”) enter into this Agreement Regarding
Payment of Rent effective July 1, 2020 (the “Agreement”).

                                          RECITALS

       A.      Debtor leases the following premises from Landlord:

               Store Location                                    Date of Lease
            (“Leased Premises”)                                    (“Lease”)
 415 Nicollet Mall, Minneapolis, MN 55401        March 1, 2017, as amended by the First
                                                 Amendment to Retail Lease dated June 12,
                                                 2017


        B.      On June 3, 2020 (the “Petition Date”), Debtor filed a voluntary petition for relief
under Chapter 11 of the Bankruptcy Code in the United States District Court for the Western
District of Michigan (the “Bankruptcy Court”), Case No. 20-01969, which is being jointly
administered with BarFly Ventures, LLC, the Debtor’s parent company, Case No. 20-01947
(collectively, the “Bankruptcy Case”).

       C.     Under the Lease, Debtor is obligated to pay Landlord rent, common area
maintenance (“CAM”), taxes, additional rent, and other charges, costs, or expenses chargeable to
Debtor as more fully described in the Lease (collectively, “Rent”).

         D.     From March 1, 2020 to June 30, 2020, Debtor owes Landlord $73,836.93 in unpaid
Rent, plus all other charges, costs and expenses due under the Lease (collectively, the “Pre-
Petition Unpaid Rent”). Landlord acknowledges and agrees that Landlord has received payment
in full of all Rent owing as of the Petition Date by the Debtor other than the Pre-Petition Unpaid
Rent.

        E.     The Landlord further agrees that the Pre-Petition Unpaid Rent is an unsecured pre-
petition claim and that Landlord may not demand or otherwise attempt to collect the Pre-Petition
Unpaid Rent while the automatic stay applies in the Bankruptcy Case.

        F.     Debtor will continue to occupy the Leased Premises through the date Debtor either
rejects or assumes the Lease under 11 U.S.C. § 365 (the “Post-Petition Period”).

        G.      Debtor acknowledges Landlord is entitled to monthly payments of Rent in the
amount of $ (i) 22,191.80, for the month of July,2020, and (ii) $22,696.38 from August 1, 2020
until the Lease is rejected or assumed (the “Post-Petition Rent”), for the continued possession of
the Leased Premises. The Post-Petition Rent is an administrative expense under 11 U.S.C. §
365(d) and 11 U.S.C. § 503(b) and is adequate protection for the use and occupancy of the Leased
Premises under 11 U.S.C. § 363.
             Case:20-01947-jwb      Doc #:284 Filed: 08/26/2020         Page 22 of 22

                                                                                 Execution Version



                                         AGREEMENT

      1.        Post-Petition Rent Waiver. While the Parties acknowledge Landlord is entitled
to the Post-Petition Rent for the continued possession of the Leased Premises, Landlord hereby
agrees to waive Debtor’s obligation to pay Post-Petition Rent accruing through August 31, 2020.
Therefore, notwithstanding the requirements of 11 U.S.C. § 365(d), 11 U.S.C. § 503(b), and 11
U.S.C. § 363 and any other like provision in the Bankruptcy Code, the Parties agree that Debtor is
not obligated to pay Post-Petition Rent except as set forth in Paragraphs 2 and 3 of this Agreement.

      2.        Rejection of Lease. If the Debtor and/or the Debtor’s estate ultimately rejects the
Lease pursuant to 11 U.S.C. § 365, both the Pre-Petition Unpaid Rent and the Post-Petition Rent
will be treated as allowed general unsecured claims in the Bankruptcy Case, without prejudice to
Landlord’s right to seek additional lease rejection damages to the fullest extent allowable under 11
U.S.C. § 365.

      3.       Assumption of Lease. In the event the Lease is assumed pursuant to 11 U.S.C. §
365, Debtor (or its assignee) must pay both the Pre-Petition Unpaid Rent and the Post-Petition
Rent then due as “cure” in satisfaction of 11 U.S.C. § 365(b)(1)(A) and otherwise satisfy 11 U.S.C.
§ 365, unless Landlord agrees to waive such requirements in writing in a separate agreement.

      4.        Bankruptcy Court Approval. Debtor will seek entry of an order that incorporates
the provisions set forth herein and authorizes Debtor to enter into this Agreement. This Agreement
will be null and void if the Court does not enter an order approving this Agreement. The
Bankruptcy Court will retain jurisdiction over any disputes under this Agreement.

This Agreement is effective on the date set forth above.

 DEBTOR:        HOPCAT       MINNEAPOLIS, LANDLORD: NICOLLET RESIDENCES,
 LLC                                      LLC


 By: ________________________________              By: ______________________________
     Mark A. Sellers, III                              Jim Young

 Its: Authorized Signer                            Its: Authorized Signer

20327803-2
